Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA, TUCSON DIVISION

Case number (if known)                                                         Chapter you are filing under:

                                                                               Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Scott                                                           Rosario
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's
     license or passport).           Middle name                                                     Middle name
     Bring your picture             Simmons                                                          Simmons
     identification to your meeting
                                    Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     with the trustee.




2.   All other names you have
     used in the last 8 years        Scott P Simmons
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-4907                                                     xxx-xx-7657
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1
Debtor 2   Simmons, Scott & Simmons, Rosario                                                           Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 7221 E Calle Arturo
                                 Tucson, AZ 85710-3709
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Pima
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other           Over the last 180 days before filing this petition, I have
                                        district.                                                       lived in this district longer than in any other district.

                                       I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




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Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                  When                              Case number
                                             District                                  When                              Case number
                                             District                                  When                              Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known



11. Do you rent your               No.        Go to line 12.
    residence?
                                  Yes.        Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




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Debtor 2    Simmons, Scott & Simmons, Rosario                                                                 Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




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Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
    briefing about credit
                                      Icounseling
                                           received a briefing from an approved credit
                                                      agency within the 180 days before I
                                                                                                      Icounseling
                                                                                                          received a briefing from an approved credit
                                                                                                                     agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




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Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                           50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?
                                   $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Scott Simmons                                                  /s/ Rosario Simmons
                                   Scott Simmons                                                      Rosario Simmons
                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   mirosc0528@gmail.com                                               mirosc0528@gmail.com
                                   Email Address of Debtor 1                                          Email Address of Debtor 2

                                   Executed on     April 9, 2019                                      Executed on      April 9, 2019
                                                   MM / DD / YYYY                                                      MM / DD / YYYY



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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Stephen Trezza                                                    Date         April 9, 2019
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Stephen Trezza
                                Printed name

                                Arizona Law Group Of Trezza & Assoc LLC
                                Firm name


                                4011 E Broadway Blvd # 500
                                Tucson, AZ 85711-3451
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                   Email address         attorney7335@gmail.com
                                014682
                                Bar number & State




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                                                              15557-AZ-CC-032633386




                    CERTIFICATE OF COUNSELING

I CERTIFY that on April 7, 2019, at 9:54 o'clock PM MDT, Scott Simmons
received from Urgent Credit Counseling, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   April 7, 2019                          By:      /s/Tiffany Terrell


                                               Name: Tiffany Terrell


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


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                                                              15557-AZ-CC-032633455




                    CERTIFICATE OF COUNSELING

I CERTIFY that on April 7, 2019, at 9:55 o'clock PM MDT, Rosario Simmons
received from Urgent Credit Counseling, Inc., an agency approved pursuant to 11
U.S.C. 111 to provide credit counseling in the District of Arizona, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. 109(h) and
111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   April 7, 2019                          By:      /s/Tiffany Terrell


                                               Name: Tiffany Terrell


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


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            3H Financial Group
            5028 N Oracle Rd
            Tucson, AZ 85704-3750


            A L Financial Corp
            5151 E Broadway Blvd Ste
            Tucson, AZ 85711-3705


            Aaron's Sales & Lease
            Attn: Bankruptcy
            PO Box 100039
            Kennesaw, GA 30156-9239


            Aarons's Rent
            6343 E 22nd St Ste 141
            Tucson, AZ 85710-5195


            Ace
            77 S Kolb Rd
            Tucson, AZ 85710-3601


            Ad Astra Recovery Serv
            7330 W 33rd St N Ste 118
            Wichita, KS 67205-9370


            AES/PHEAA
            Attn: Bankruptcy
            1200 N 7th St
            Harrisburg, PA 17102-1419




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            Afni, Inc.
            PO Box 3097
            Bloomington, IL      61702-3097


            AL Financial Corp
            7250 N 16th St Ste 400
            Phoenix, AZ 85020-5264


            Allied Cash
            6330 E Golf Links Rd Ste 192
            Tucson, AZ 85730-1055


            Arizona Department of Revenue
            1600 W Monroe St
            Phoenix, AZ 85007-2612


            Arronrnts
            309 E Paces Ferry Rd NE
            Atlanta, GA 30305-2367


            Aspire Servicing Center
            Attn: Bankruptcy
            PO Box 659705
            West Des Moines, IA 50265-0970


            Aspire/doe
            PO Box 65970
            West Des Moines, IA       50265-0970




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            Blythe A Edmondson
            4525 E Skyline Dr Ste 129
            Tucson, AZ 85718-1601


            Cash Time Title Loans Inc.
            2355 N Swan Rd
            Tucson, AZ 85712-2744


            Casino Del Sol
            5655 W Valencia Rd
            Tucson, AZ 85757-9714


            Cedarwood Investments LLC
            5900 N Granite Reef Rd Ste 100
            Scottsdale, AZ 85250-6280


            Check Into Cash
            7066 E Golf Links Rd
            Tucson, AZ 85730-1062


            Checksmart
            5502 E Pima St Ste 100
            Tucson, AZ 85712-3752


            Checksmart
            5504 E 22nd St Ste 100
            Tucson, AZ 85711-5539




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            Cogent Healthcare Az 566
            350 N Wilmot Rd
            Tucson, AZ 85711-2602


            Conns
            Attn: Bankruptcy Department
            PO Box 815867
            Dallas, TX 75381-5867


            Conns Credit Corp
            PO Box 2358
            Beaumont, TX 77704-2358


            Convergent Outsourcing
            800 SW 39th St
            Renton, WA 98057-4975


            Cox Communications
            PO Box 1259
            Oaks, PA 19456-1259


            Creative Car Credit Ll
            4006 E Speedway Blvd
            Tucson, AZ 85712-4520


            Credit Coll
            PO Box 607
            Norwood, MA    02062-0607




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Simmons, Scott




            Credit Protection Asso
            13355 Noel Rd Ste 2100
            Dallas, TX 75240-6837


            Cutco
            5552 E Water St
            Tucson, AZ 85712-2234


            David L Siedberg
            2412 E Campbell Ave
            Phoenix, AZ 85016-4906


            Department of Education/Nelnet
            Attn: Claims
            PO Box 82505
            Lincoln, NE 68501-2505


            Dept of Education/Neln
            3015 S Parker Rd
            Aurora, CO 80014-2904


            Desert Atriums LLC
            8750 E Cooper St
            Tucson, AZ 85710-4469


            DIRECTV
            PO Box 5007
            Carol Stream, IL       60197-5007




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            Enhanced Recovery Co L
            PO Box 57547
            Jacksonville, FL 32241-7547


            Fast Auto Loans
            4401 E Broadway Blvd
            Tucson, AZ 85711-3507


            Fastmed Az
            2460 N Swan Rd Ste 140
            Tucson, AZ 85712-5703


            First Premier Bank
            Attn: Bankruptcy
            PO Box 5524
            Sioux Falls, SD 57117-5524


            First Premier Bank
            3820 N Louise Ave
            Sioux Falls, SD 57107-0145


            Global Payments
            PO Box 66118
            Chicago, IL 60666-0118


            Global Payments Check
            PO Box 59371
            Chicago, IL 60659-0371




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            I C System Inc
            PO Box 64378
            Saint Paul, MN      55164-0378


            Infinity Casualty Insurance Co
            3160 E Transcon Way
            Tucson, AZ 85706-5026


            Internal Revenue Service
            PO Box 21126
            Philadelphia, PA 19114-0326


            ITT Educational Services Inc
            1455 W River Rd
            Tucson, AZ 85704-5829


            ITT Institute
            1455 W River Rd
            Tucson, AZ 85704-5829


            James A Landon
            2830 N Swan Rd
            Tucson, AZ 85712-6306


            Jefferson Capital Syst
            16 McLeland Rd
            Saint Cloud, MN 56303-2198




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            Kls Financial Services
            991 Aviation Pkwy Ste 30
            Morrisville, NC 27560-8457


            Ksa Servicing
            Attn: Bankruptcy Dept
            PO Box 90759
            Raleigh, NC 27675-0759


            Ksaservicing
            PO Box 90759
            Raleigh, NC 27675-0759


            Lobel Financial Corp
            Attn: Bankruptcy
            PO Box 3000
            Anaheim, CA 92803-3000


            Lobel Financial Corp
            PO Box 3000
            Anaheim, CA 92803-3000


            Lobel Financial Corporation
            333 N Wilmot Rd Ste 150
            Tucson, AZ 85711-2684


            National Credit System
            PO Box 312125
            Atlanta, GA 31131-2125




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            Online Collections
            PO Box 1489
            Winterville, NC 28590-1489


            Pat Delaney
            PO Box 40156
            Tucson, AZ 85717-0156


            Perfect Teeth
            6126 E Speedway Blvd
            Tucson, AZ 85712-5127


            Progressive Leasing
            256 W Data Dr
            Draper, UT 84020-2315


            QC Financial Service
            9401 Indian Creek Pkwy Ste 1500
            Overland Park, KS 66210-2020


            Ready Money
            4664 E Speedway Blvd
            Tucson, AZ 85712-4634


            Receivables Performanc
            20816 44th Ave W
            Lynnwood, WA 98036-7744




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            Rent A Center
            6990 E 22nd St Ste 100
            Tucson, AZ 85710-5192


            Rent A Center
            6990 E 22nd St
            Tucson, AZ 85710-5122


            Sanford J Germaine
            4040 E Camelback Rd Ste 110
            Phoenix, AZ 85018-2736


            Security Nat Auto Acce
            6951 Sintas Blvd
            Mason, OH 45036


            Security National Auto
            6951 Cintas Blvd
            Mason, OH 45040-8923


            SEG CORT LLC
            770 S Dixie Hwy Fl 2
            Coral Gables, FL 33146-2670


            Seventh Ave
            1112 7th Ave
            Monroe, WI 53566-1364




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            Southwest Financial Services
            5632 E Broadway Blvd
            Tucson, AZ 85711-3812


            Southwest Financial Sv
            5632 E Broadway Blvd
            Tucson, AZ 85711-3812


            Speedy Cash
            2351 N Alvernon Way # 100
            Tucson, AZ 85712-2583


            Sprint
            Attn: Bankruptcy
            6391 Sprint Pkwy
            Overland Park, KS       66251-6100


            Syncb/Care Credit
            C/o
            PO Box 965036
            Orlando, FL 32896-5036


            Synchrony Bank/Care Credit
            Attn: Bankruptcy Dept
            PO Box 965060
            Orlando, FL 32896-5060




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            T-Mobile
            Attn: Bankruptcy
            PO Box 53410
            Bellevue, WA 98015-3410


            Tbird Coll
            7701 E Indian School Rd
            Scottsdale, AZ 85251-4041


            Thomas T Tilton
            459 N Granada Ave
            Tucson, AZ 85701-8213


            Titan Group Financial Services, Inc
            5028 N Oracle Rd
            Tucson, AZ 85704-3750


            Tucson Electric Power Company
            3950 E Irvington Rd
            Tucson, AZ 85714-2114


            U S Dept of Ed/Gsl/Atl
            PO Box 4222
            Iowa City, IA 52244-4222


            U.S. Department of Education
            ECMC/Bankruptcy
            PO Box 16408
            Saint Paul, MN 55116-0408




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            US Dep Ed
            PO Box 5609
            Greenville, TX      75403-5609


            US Dept of Education
            Attn: Bankruptcy
            PO Box 16448
            Saint Paul, MN 55116-0448


            Western Dental
            7701 E Broadway Blvd
            Tucson, AZ 85710-3941




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